IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Vv. No. 23-03129-02-CR-S-BP
RAIMATYA L. TYSON,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminai Procedure, the parties
described below have entered into the following plea agreement:

1, The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”’), represented by Teresa A. Moore, United States Attorney, and Stephanie L. Wan, Assistant
United States Attorney, and the defendant, Raimaiya L. Tyson (“the defendant”), represented by
Alison Ray Hershewe.

The defendant understands and agrees that this plea agreement is only between her and the
United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Count | of the indictment, charging her with a violation of 18 U.S.C. § 933(a)(3), that is,
conspiracy to traffick in firearms. By entering into this plea agreement, the defendant admits that

she knowingly committed this offense, and is, in fact, guilty of this offense.
Page 1 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 1 of 16

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which the defendant is pleading guilty are as follows:

In November 2021, the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) began
investigating numerous shooting incidents, that began on approximately May 4, 2021, in the
Springfield, Missouri, area involving juveniles and young adults, Several males involved in
shooting incidents were identified through various social media accounts and police incident
reports. Many of the shooting suspects were identifying themselves as gang members and/or
rappers, The “gang” names identified for various groups of males in this investigation are clearly
visible on their social media accounts, tattoos, and clothing/jewelry worn by their respective
members. The primary “gangs” involved in these rash of shootings were “Fuck The Opps” (also
known as “FTO”) and “Only Da Brothers” (also known as “ODB”), A review of their social
media accounts showed them in rap music videos and photographs possessing what appeared to
be handguns, AR-style pistols, and rifles. Most of the identified subjects were under the age of
21 and were prohibited from purchasing handguns from a Federal Firearm Licensee (FFL). In
many of the rap videos, targets of this investigation appear to be smoking marijuana and have
been documented as users of controlled substances.

On August 12, 2023, the ATF, Greene County Sheriffs Office (“GCSO”) and Springfield Police
Department (“SPD”) conducted surveillance at the RK Gun Show, located at 3001 North Grant,
Springfield, Greene County, Western District of Missouri. The purpose of the surveillance was
to surveil members and associates of the FTO and ODB gangs. Recent information received from
sources indicated both groups were selling/purchasing firearms from Federal Firearm Licensee’s
(“FFL”) and private citizens, The sources stated the members were selling their crime guns after
they were used in shootings. After selling their crime guns, they would either purchase new
firearms or used firearms during the gun shows.

At approximately 9:10 a.m., investigators saw Desean L. Franklin, and his girlfriend, Raimaiya
L. TYSON arrive at the gun show in a blue Dodge Charger. The ATF believed Franklin was a
member of ODB. The Dodge Charger was registered fo TYSON,

According to Franklin’s criminal history, Franklin has a pending felony case for unlawful
possession of a controlled drug with intent to distribute and possession of a firearm during
commission of a felony out of Caddo County, Oklahoma, in Case No. CF-2023-00057, stemming
from an April 3, 2023, arrest, Franklin’s initial appearance on that case occurred on April 4, 2023,
He was released on bond on April 5, 2023, Further, Franklin has an outstanding warrant, dated
December 4, 2020, for “Marijuana — Sell” out of Ness City, Kansas, in Case No. 2020CR94.
According to TYSON’s criminal history and court records, TYSON has a pending case for the
felonies of possession of a controlled substance and unlawful use of a weapon out of Henry
County, Missouri, in Case No. 23HE-CR001166. TYSON was arraigned on that case on June 9,
2023. As a result of their pending cases, neither Franklin nor TYSON are legally able to receive
firearms.

Page 2 of 16

Case 6:23-cr-03129-BP Document91 _ Filed 12/17/24 Page 2 of 16

Franklin and TYSON entered the gun show and proceeded to a table occupied by FFL Keith’s
Guns. TYSON appeared to attempt to purchase a Draco pistol. TYSON completed an ATF Form
4473, Firearms Transaction Record. ATF Form 4473 is also used to conduct background checks
for the purchase of firearms. TYSON was denied and unable to purchase the firearm because she
had a pending felony case out of Henry County, Missouri. At 9:45 a.m., both left the gun show in
the Dodge Charger.

At approximately 10:32 a.m., the Dodge Charger arrived back at the gun show. Surveillance units
saw Franklin and a male, later determined to be Joseph M. Johnson, walk toward the door of the
gun show. Johnson has younger family members that are believed to be ODBs. TYSON stayed
in the Dodge Charger, Johnson and Franklin entered the gun show and proceeded to FFL Hunts
Hardware. Hunts Hardware’s table was located near the table occupied by Keith’s Guns. Both
Franklin and Johnson looked at a firearm, believed to be a Draco pistol, while standing at the
Hunts Hardware table. Then, Franklin and Johnson left the table and went to the restroom.
Johnson immediately exited the restroom, and went back to the Hunts Hardware tabie alone.
Johnson completed an ATF Form 4473 for a firearm purchase. Johnson purchased a Draco pistol
from Hunts Hardware. It appeared that he paid for the firearm in cash, After taking possession of
the pistol in a box, he left the building and entered the Dodge Charger. Franklin, TYSON, and
Johnson left the gun show in the Dodge. Surveillance units followed the Dodge and saw it arrive
at 2026 West Franklin, Springfield, Greene County, Western District of Missouri, believed to be
the residence of Franklin and TYSON. All three entered the RESIDENCE, and Johnson carried
the firearm box inside. After 30 minutes of surveillance at the residence, surveillance saw TYSON
leave in the Dodge. It did not appear that TYSON had the firearm box with her.

On August 15, 2023, an ATF Special Agent (“SA”) obtained the ATF Form 4473 from TYSON’s
attempted purchase from Keith’s Custom Guns. During his conversation with the employee at
Keith’s Custom Guns that TYSON spoke to, she stated she remembered her conversation with
TYSON. The employee stated TYSON was trying to buy a Draco pistol, but it was a delayed
transaction when she called the purchase into the National Instant Criminal Background Check
System (NICS). TYSON told the employee she thought she had previously been denied a firearm
transaction from Keith’s Custom Guns once before. When filling out the form, TYSON responded
“No” to Questions 21,d. which asked “Are you under indictment or information in any for court
for a felony, or any other crime for which the judge could imprison you for more than one year,
or are you a current military member who has been charged with violation(s) of the Uniform Code
of Military Justice and whose charge(s) have been referred to a general court-martial?” The SA
also found that TYSON had listed her address incorrectly. She listed her address at a house on
North Rogers Avenue in Springfield, Missouri, but the SA knew that she lived with Franklin at a
residence on West Franklin in Springfield, Missouri.

The SA checked denials for TYSON and found she had one additional denial. This attempted
purchase occurred on February 28, 2023, from Anchor Tactical Supply. The purchase was denied

based on the pending felony case out of Henry County, Missouri. The NICS notes show it was
denied for a prohibition under Title 18 U.S.C. 922(2)(3).

Page 3 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 3 of 16

Also on August 15, 2023, the SA obtained the ATF Form 4473 for Johnson’s purchase. It showed
Johnson purchased a Romarm, Micro Draco, 7.62 caliber, semi-automatic pistol, serial number
23PMD-39804. The gun actually purchased by Johnson was similar to the firearm that TYSON
attempted to purchase, Further, it appears that, when filling out the form, Johnson originally
marked box 21(a), which asks “Are you the actual transferee/buyer of all of the firearm(s) listed
on this form and any continuation sheet(s)(ATF Form 5300.9A)?,” as “No,” but scratched it out,
and marked “Yes” with his initials. Johnson also answered “No” to question 21.b. which read,
“Do you intent to purchase or acquire any firearm listed on this form and any continuation
sheet(s), or ammunition, for sale or other disposition to any person described in questions 21(c)-
(m), or to a person described in question 21.n.1 who does not fall within a nonimmigrant alien
exception?”’7

On August 18, 2023, an ATF SA and Firearm Interstate Nexus Expert, was consulted about the
firearm purchased by Johnson, According to the Nexus Expert, it was his opinion that if this
firearm was received and/or possessed in the State of Missouti, it traveled in or affected interstate
and/or foreign commetce.

On August 24, 2023, the SA obtained a screenshot of Mattias Sothern-Johnson, another individual
believed by investigators to be an ODB, fiom Sothern-Johnson’s Facebook page. The photograph
depicts Sothern-Johnson, wearing an ODB medallion necklace, holding a mini Draco pistol in a
kitchen. The pistol being held by Sothern-Johnson appeared to be the same make and model
purchased by Johnson on August 12, 2023. The photograph of Sothern-Johnson appeared to be
taken in Franklin and TYSON’s kitchen, based on comparison to images of the residence that
were posted on Zillow, a real estate website.

On August 31, 2023, GCSO deputies conducted a traffic stop of the biue Dodge Charger
registered to TYSON. The vehicle was stopped at Arby’s, 230 South West Bypass, Springfield,
Greene County, Western District of Missouri, As the GCSO deputy pulled up behind the Charger,
several people got out of the vehicle and walked away. Franklin was the driver of the vehicle. The
passengers were later identified as Quartez Washington, and Sothern-Johnson. Another individual
was still in the vehicle, Elysha Bedell, who was still in the vehicle because he was paralyzed.

During the stop, Franklin confirmed his license was suspended. Further, Franklin admitted to
having a firearm in the vehicle and the firearm belonged to him. He provided consent to search
the vehicle, Franklin told officers his firearm was in the front passenger floorboard. The firearm
was retrieved and identified as a Micro Draco, 7,62 caliber, semi-automatic pistol, bearing serial
number 23PND39804.

While at the stop, TYSON arrived and attempted to take possession of the Dodge Charger, She
claimed to have ownership paperwork for the Micro Draco pistol. She stated she would retrieve
the paperwork and provide it to detectives, To date, TYSON has not provided any paperwork for
the Micro Draco.

7 Question 21.d. includes anyone under indictment or information in any court for a felony.
Page 4 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 4 of 16
During the stop, Franklin and the deputy discussed whether Franklin was able to legally have a
weapon. Franklin said that he was able to purchase the gun from the gun show at the fairgrounds.

The Micro Draco was confirmed, by the ATF SA and through firearm trace reports, to be the
firearm purchased by Johnson from Hunt’s Hardware, just nineteen days prior, on August 12,
2023.

On September 1, 2023, an ATF Task Force Officer (“TFO”) test-fired the Micro Draco, and found
that the firearm functioned as designed.

On September 11, 2023, the SA obtained the Oklahoma Highway Patrol report which led to
Franklin’s felony charges in Caddo County, Oklahoma. According to the report, Franklin, and
TYSON were stopped on the highway on April 4, 2023, after witnessing traffic violations. A
search of the vehicle revealed ten small bags of marijuana, and four large bags of marijuana. Each
large bag of marijuana weighed approximately one pound, In total, the trooper believed the
marijuana weighed approximately 6.5 pounds. Also located in the vehicle was a Sig Sauer, P239,
40 caliber, semi-automatic pistol. Franklin took responsibility for everything in the vehicle.

On September 18, 2023, the SA obtained the certified court documents related to TYSON’s
pending felony case in Henry County, Missouri. On March 13, 2023, TYSON was charged with
felony possession of controlled substances and unlawful use of a weapon. The charges arose out
of an incident that occurred on September 9, 2022, where a trooper with the Missouri State
Highway Patrol stopped TYSON for a traffic violation. The trooper searched TYSON’s vehicle
and found she was in possession of psilocyn and a Taurus firearm,

TYSON admits that between August 12, 2023, and August 31, 2023, said dates being
approximate, within Greene County, in the Western District of Missouri, and elsewhere, she
knowingly and intentionally combined, conspired, and agreed with others, known and unknown,
to knowingly receive from another person any firearm in or otherwise affecting interstate ot
foreign commerce, if the recipient knows or has reasonable cause to believe that such receipt
would constitute a felony, in violation of Title 18, United States Code, Section 933(a)(3) and (b).

4, Use_of Factual. Admissions and Relevant Conduct, The defendant

acknowledges, understands and agrees that the admissions contained in paragraph 3 and other
portions of this plea agreement will be used for the purpose of determining her guilt and advisory
sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the
calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The
defendant acknowledges, understands and agrees that the conduct charged in any dismissed counts

of the indictment, as well as all other uncharged, related criminal activity, may be considered as
Page 5 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 5of16
“relevant conduct” pursuant to U.S.S.G, § 1B1.3(a}(2) in calculating the offense level for the
charge to which she is pleading guilty.

5. Statutory Penalties. The defendant understands that, upon her plea of guilty to

Count | of the indictment, charging her with conspiracy to traffick in firearms, the maximum
penalty the Court may impose is not more than 15 years’ imprisonment, 3 years’ supervised
release, a $250,000 fine, and a $100 mandatory special assessment per felony count of conviction,
which must be paid in fuil at the time of sentencing, The defendant further understands that this
offense is a Class C felony.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c, in addition to a sentence of imprisonment, the Court may impose a
term of supervised release of up to 3 years;

d. if the defendant violates a condition of her supervised release, the
Court may revoke her supervised release and impose an additional period of
mmprisonment of up to 2 years without credit for time previously spent on
supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed 3
years, less the term of imprisonment imposed upon revocation of the defendant’s
first supervised release;

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

Page 6 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 6 of 16

£. any sentence of imprisonment imposed by the Court will not allow
for parole;

g. the Court is not bound by any recommendation regarding the
sentence to be imposed or by any calculation or estimation of the Sentencing

Guidelines range offered by the parties or the United States Probation Office; and

h. the defendant may not withdraw her guilty plea solely because of
the nature or length of the sentence imposed by the Court.

7. Government’s Agreements, Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea
agreement, agrees not to bring any additional charges against the defendant for any federal criminal
offenses related to conspiracy to traffick in firearms for which it has venue and which arose out of
the defendant’s conduct described above. Additionally, the United States Attorney for the Western
District of Missouri agrees to dismiss Count 2, attempt to traffick in firearms, and Count 3, false
statement during the purchase of a firearm, at sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspitacy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives her right to challenge the initiation
of the dismissed or additional charges against her if she breaches this agreement. The defendant

expressly waives her right to assert a statute of limitations defense if the dismissed or additional
Page 7 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 7 of 16

charges are initiated against her following a breach of this agreement. The defendant further
understands and agrees that, if the Government elects to file additional charges against her
following her breach of this plea agreement, she will not be allowed to withdraw her guilty plea.

8, Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character and conduct
of the defendant, including the entirety of her criminal activities. The defendant understands these
disclosures are not limited to the count to which she has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel, and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure.

9, Withdrawal of Plea, Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible, However, after the plea has been
formally accepted by the Court, the defendant may withdraw her plea of guilty only if the Court
rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that, if the Court accepts her plea of guilty and this plea

agreement but subsequently imposes a sentence that is outside the defendant’s applicable

Page 8 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 8 of 16

Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, she will not be permitted to withdraw her plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
““inreasonable”;

b. The applicable Guidelines section for the offense of conviction is
U.S.S8.G. § 2K2.1;

c. There is no agreement between the parties regarding the applicable
enhancements, The parties agree that the Court will determine the applicable
enhancements after receipt of the presentence investigation report prepared by the
United States Probation Office and after the parties have had an opportunity to be
heard on the applicable enhancements;

d. The defendant has admitted her guilt and clearly accepted
responsibility for her actions, and has assisted authorities in the investigation or
prosecution of her own misconduct by timely notifying authorities of her intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, she is entitled to a 3-level reduction pursuant to § 3E1.1(b)
of the Sentencing Guidelines. The Government, at the time of sentencing, will file
a written motion with the Court to that effect, unless the defendant: (1) fails to abide
by all of the terms and conditions of this plea agreement and her pretrial release; or
(2) attempts to withdraw her guilty plea, violates the law, or otherwise engages in
conduct inconsistent with her acceptance of responsibility;

e, There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine her
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

f. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw her plea of guilty;

Page 9 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 9of16

g. The defendant understands that the Court may impose any sentence
authorized by law, including any sentence outside the applicable Guidelines range
that is not “unreasonable.” However, while the United States does not agree that a
sentence outside the Guidelines range is appropriate, the defendant may argue for
a sentence outside the Guidelines range. The agreement by the Government not to
seck a departure from the Guidelines is not binding upon the Court or the United
States Probation Office, and the Court may impose any sentence authorized by law,
including any sentence outside the applicable Guidelines range that is not
“unreasonable”;

h. The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination beyond
a reasonable doubt of all facts used to determine and enhance the sentence imposed,
and waives any right to have those facts alleged in the indictment. The defendant
also agrees that the Court, in finding the facts relevant to the imposition of sentence,
may consider any reliable information, including hearsay; and

i. The defendant understands and agrees that the factual admissions
contained in paragraph 3 of this plea agreement, and any admissions that she will
make during her plea colloquy, support the imposition of the agreed upon
Guidelines calculations contained in this agreement.

ll. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that, if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by the defendant to be sentenced pursuant to the new Guidelines will make this plea

agreement voidable by the United States at its option. If the Government exercises its option to

Page 10 of 16

Case 6:23-cr-03129-BP Document91 Filed 12/17/24 Page 10 of 16

void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all

criminal charges that could have been brought but for this plea agreement.

13,

Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by the defendant at
the sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charges in the indictment;

Cc. oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentence imposed, and that the United States remains
free on appeal or collateral proceedings to defend the legality and propriety of the
sentence actually imposed, even if the Court chooses not to follow any

recommendation made by the United States; and

d, oppose any post-conviction motions for reduction of sentence, or

other relief.

14.

Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that she has been advised of, understands, and knowingly and voluntarily waives

the following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;
b, the right to be presumed innocent until her guilt has been established

beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective

assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify

against her;

and

e, the right to compel or subpoena witnesses to appear on her behalf;

f. the right to remain silent at trial, in which case her silence may not

be used against her.

Page 11 of 16

Case 6:23-cr-03129-BP Document91 _ Filed 12/17/24 Page 11 of 16

The defendant understands that, by pleading guilty, she waives or gives up those rights and
that there will be no trial. The defendant further understands that, if she pleads guilty, the Court
may ask her questions about the offense to which she pleaded guilty, and if the defendant answers
those questions under oath and in the presence of counsel, her answer's may later be used against
her in a prosecution for perjury or making a false statement. The defendant also understands that
she has pleaded guilty to a felony offense and, as a result, will lose her right to possess a firearm
or ammunition and might be deprived of other rights, such as the right to vote or register to vote,
hold public office, or serve on a jury.

15, Waiver of Appellate and Post-Conviction Rights.

a, The defendant acknowledges, understands and agrees that, by
pleading guilty pursuant to this plea agreement, she waives her right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct; and

b. The defendant expressly waives her right to appeal her sentence,
directly or collaterally, on any ground except claims of: (1) ineffective assistance
of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does vot include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence, However, if the United States exercises its tight to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal her sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant

represents that she understands and agrees to the following financial obligations:
a, The Court may order restitution to the victims of the offense to
which the defendant is pleading guilty. The defendant agrees that the Court may

order restitution in connection with the conduct charged in any counts of the

Page 12 of 16

Case 6:23-cr-03129-BP Document91_ Filed 12/17/24 Page 12 of 16

indictment which are to be dismissed and all other uncharged, related criminal
activity;

b, The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine;

c, The defendant will fully and truthfully disclose alf assets and
property in which she has any interest, or over which the defendant exercises
control, directly or indirectly, including assets and property held by a spouse,
nominee or other third party. The defendant’s disclosure obligations are ongoing,
and ate in force from the execution of this agreement until the defendant has
satisfied the restitution order in full;

d. Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

e. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

f. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to her to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

g. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of her fulfillment
of this obligation at the time of sentencing;

h. The defendant certifies that she has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that she will make no such transfers in the future; and

Page 13 of 16

Case 6:23-cr-03129-BP Document91_ Filed 12/17/24 Page 13 of 16

i, In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets, The
defendant agrees not to contest any collection of such assets, In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered plea of guilty shall remain in effect and cannot be
withdrawn.

17. Waiver of FOTIA Request. The defendant waives all of her rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,
or the Privacy Act of 1974, 5 U.S.C, § 552a,

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of her claims

under the Hyde Amendment, 18 U.S.C, § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. 'The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw her plea of guilty.

Page 14 of 16

Case 6:23-cr-03129-BP Document91_ Filed 12/17/24 Page 14 of 16

The defendant also understands and agrees that, in the event she violates this plea
agreement, all statements made by her to law enforcement agents subsequent to the execution of
this plea agreement, any testimony given by her before a grand jury or any tribunal, or any leads
from such statements or testimony, shall be admissible against her in any and all criminal
proceedings. The defendant waives any rights that she might assert under the United States
Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the
Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any
statements made by her subsequent to this plea agreement.

20.  Defendant’s Representations. The defendant acknowledges that she has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that she is satisfied with the assistance of
counsel, and that counsel has fully advised her of her rights and obligations in connection with this
plea agreement. The defendant further acknowledges that no threats or promises, other than the
promises contained in this plea agreement, have been made by the United States, the Court, her
attorneys, or any other party to induce her to enter her plea of guilty.

21. No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above stated terms and conditions, together with any written supplemental agreement
that might be presented to the Court in camera, constitute the entire plea agreement between the
parties, and that any other terms and conditions not expressly set forth in this agreement or any
written supplemental agreement do not constitute any part of the parties’ agreement and will not
be enforceable against either party.

22, Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be
. Page 15 of 16

Case 6:23-cr-03129-BP Document91_ Filed 12/17/24 Page 15 of 16

interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

Teresa A. Moore
United States Attorne

Dated:_iA-) 1 -AOaH itephanie
Assistant United States Attorney

Missouri Bar No. 58918

Thave consulted with my attorney and fully understand all of my rights with respect to the offenses
charged in the indictment. Further, | have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines. I have read this plea agreement
and carefully reviewed every part of it with my attorney. I understand this plea agreement and I
voluntarily agree to it.

Dated: / o/ [7 Sieg bi [Mh le

Raimaiya . Tyson
Defendan

Tam defendant Raimaiya L. Tyson’s attorney. I have fully explained to her her rights with respect
to the offenses charged in the indictment. Further, I have reviewed with her the provisions of the
Sentencing Guidelines which might apply in this case. I have carefully reviewed every part of this
plea agreement with her, To my knowledge, Raimaiya L. Tyson’s decision to enter into this plea
agreement is an informed and voluntary one.

ounces pe [7 Bory [Nein Ke Hoveteu.

Alison Ray Hershefv fre
Attorney for Defendant

Page 16 of 16

Case 6:23-cr-03129-BP Document91_ Filed 12/17/24 Page 16 of 16

